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        PROPOSED COUNSEL FOR THE DEBTORS,
        DIAMONDBACK INDUSTRIES, INC., et al.


                                    UNITED STATES BANKRUPTCY COURT
                                   FOR THE NORTHERN DISTRICT OF TEXAS
                                          FORT WORTH DIVISION

        IN RE:                                                         §         CHAPTER 11
                                                                       §
        DIAMONDBACK INDUSTRIES, INC., et al., 1                        §        CASE NO.: 20-41504-ELM-11
                                                                       §
                                   DEBTORS.                            §        JOINTLY ADMINISTERED


                   AMENDED WITNESS AND EXHIBIT LIST FOR JULY 28, 2020 HEARING

                   Diamondback Industries, Inc. and its debtor affiliates (collectively, the “Debtors”). Hereby

        submit this Witness and Exhibit List for July 28, 2020 hearing (the “Hearing”) in connection with

        the following matters:

          (i)      Debtors’ Motion to Reopen the Evidentiary Record on Motion to Terminate
                   Exclusivity [Docket No. 333];

         (ii)      Motion to Terminate Exclusivity [Docket No. 82]; UMB Bank, N.A.'s
                   Response to Motion of Repeat Precision, LLC To Terminate Exclusivity
                   [ECF 82] [Docket No. 192]; Reply Of Repeat Precision, LLC In Support Of
                   Motion For Relief From Stay [Docket No. 193]; Debtors' Response And
                   Objection To Motion Of Repeat Precision, LLC To Terminate Exclusivity
                   [Docket No. 211]; Joinder In Response Of Debtors And Response To
                   Motion Of Repeat Precision, LLC To Terminate Exclusivity filed by Derrek

         1
           The debtors in these Chapter 11 Cases, along with the last four digits of each debtor’s federal tax identification
         number, include: Diamondback Industries, Inc. (4403) (“Diamondback”); Discerner Holdings, Inc. (5110)
         (“Discerner Holdings”); and Discerner Investments, LLC (3076) (“Discerner Investments”). The location of the
         debtors’ service address is 3824 Williamson Road, Crowley, Texas 76036.



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                   Drury [Docket No. 218]; Supplement Of Repeat Precision, LLC To Its
                   Motion To Terminate Exclusivity [Docket No. 272]; and Debtors’ Response
                   to Supplement of Repeat Precision, LLC [Docket No. 297];

        (iii)      Motion of Repeat Precision, LLC, for Limited Relief from the Automatic
                   Stay to Prosecute TUFTA Claims against UMB Bank, N.A., and Brief in
                   Support Thereof [Docket No. 118]; UMB Bank, N.A.’s Opposition to Repeat
                   Precision, LLC’s Motion for Limited Relief from the Automatic Stay to
                   Prosecute TUFTA Claims against UMB Bank, N.A., and Brief in Support
                   Thereof [Docket No. 182]; Supplement of Repeat Precision, LLC in Support
                   of Motion for Relief from the Automatic Stay to Prosecute TUFTA Claims
                   against UMB Bank, N.A. [Docket No. 259]; Debtors’ Objection to Repeat
                   Precision, LLC’s Supplement to its Motion for Relief from the Automatic
                   Stay to Prosecute TUFTA Claims against UMB Bank, N.A. [Docket No.
                   287]; and

        (iv)       Motion Approving Use of Paycheck-Protection-Program Funds in the
                   Ordinary Course of Business or, in the Alternative, Authorizing
                   Diamondback Industries, Inc. to Incur Postpetition Financing Pursuant to
                   11 U.S.C. §364(a) or (b) [Docket No. 282].

                                                I.      WITNESSES

                   Debtors designate the following persons who may be called as witnesses to testify at the

        Hearing:

                   1.     Cade Kennedy;

                   2.     Benton Cantey;

                   3.     Grant Martin;

                   4.     Gary Martin;

                   5.     Robert Nipper;

                   6.     The Honorable Russell Nelms;

                   7.     Roger Williams, U.S. Representative, 25th District of Texas (by live testimony,

        video deposition, and/or transcript);

                   8.     Kyle Hirsch;

                   9.     Lee Anderson (by live testimony, video deposition, and/or transcript);


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                   10.    Michael Garner;

                   11.    Davor Rukavina;

                   12.    Mark Andrews;

                   13.    Travis Vandell;

                   14.    Any witness called or designated by another party; and

                   15.    Any rebuttal or impeachment witnesses, as necessary.

                                                       II.      EXHIBITS

                   Debtors request that this Court take judicial notice of the exhibits filed electronically on

        this Court’s docket, and admit those exhibits without separate physical introduction, which the

        Debtors may use as exhibits at the Hearing:


            EXHIBIT 2                 EXHIBIT DESCRIPTION                                        OFFERED             ADMITTED
            Debtors Exhibit 1

                                      Schedule of Cash Receipts and Disbursements
            Debtors Exhibit 2         Deposition Transcript of Robert Nipper (June
                                      15, 2020)
            Debtors Exhibit 3         Debtors’ Rule 30(b)(6) Notice of Deposition to
                                      Repeat Precision, LLC
            Debtors Exhibit 4


                                      Letter from Grant Martin to UMB.
                                      UMB_00032856
            Debtors Exhibit 5

                                      UMB notes re: 6-11-20 phone call with
                                      Congressman Williams. UMB00032855
            Debtors Exhibit 6

                                      UMB 6-11-20 email from Michael Garner re:
                                      phone call to Mariner. UMB_00032857



        2
         For purposes of consistency and clarity, Exhibits 1 through 3 are a continuation from the June 23 hearing. See Docket
        No. 208.


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          Debtors Exhibit 7

                                 Voicemail from Congressman Williams to
                                 UMB Representative
          Debtors Exhibit 8


                                 [Intentionally Omitted]
          Debtors Exhibit 9


                                 [Intentionally Omitted]
          Debtors Exhibit 10


                                 6-12-20 email from Hirsch to Rukavina re: call
          Debtors Exhibit 11


                                 [Intentionally Omitted]
          Debtors Exhibit 12

                                 6-30-20 email from Hirsch to Rukavina re:
                                 follow-up. Repeat Precision_004014
          Debtors Exhibit 12-1

                                 6-30-20 email from Rukavina to Hirsch re:
                                 Follow up reply. Repeat Precision_004033.
          Debtors Exhibit 12-2
                                 6-30-20 email from Rukavina to Hirsch re:
                                 follow up. Repeat Precision_0040919 -
                                 004021
          Debtors Exhibit 12-3

                                 6-30-20 email from Hirsch to Rukavina re:
                                 follow up. Repeat Precision_004022 - 24
          Debtors Exhibit 12-4
                                 6-30-20 email from Rukavina to Hirsch re:
                                 follow up. Repeat Precision_004025 - 27
          Debtors Exhibit 13


                                 Hearing transcript from 6-23-20 hearing
          Debtors Exhibit 14


                                 Russell Nelms Declaration [Docket No. 333]


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          Debtors Exhibit 15
                                5-27-20 Email from Repeat re: UMB Bank
                                Timeline forwarded to Williams chief of staff.
                                Repeat Precision__005094
          Debtors Exhibit 16
                                Text messages to Congressman Clever re:
                                meet     up   and     discussion. Repeat
                                Precision_005083 - 87
          Debtors Exhibit 17
                                Text messages to Congressman Williams.
                                Repeat Precision_005088 - 93; Repeat
                                Precision_005106 -08
          Debtors Exhibit 18
                                6-24-20 email from Hirsch to Rukavina re:
                                settlement        conference.     Repeat
                                Precision_003936 - 40
          Debtors Exhibit 19

                                Deposition Transcript of Robert Nipper (July
                                23, 2020)
          Debtors Exhibit 20

                                Deposition Transcript of Gary Martin (July 23,
                                2020)
          Debtors Exhibit 21

                                Deposition Transcript of Grant Martin (July
                                23, 2020)
          Debtors Exhibit 22

                                Deposition Transcript of Kyle Hirsch (July 22,
                                2020)
          Debtors Exhibit 23

                                Deposition Transcript of Michael Garner (July
                                22, 2020
          Debtors Exhibit 24

                                Deposition Transcript of Lee Anderson (July
                                22, 2020)
          Debtors Exhibit 25

                                Deposition     Transcript    of     Corporate
                                Representative of Repeat Precision.
          Debtors Exhibit 26

                                Deposition Transcript        of   Congressman
                                Williams (July 25, 2020)


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          Debtors Exhibit 27

                                     Response of Repeat Precision, LLC’s Motion
                                     to Reopen the Record [Docket No. 348]
          Debtors Exhibit 28         Reply in Support of Supplement of Repeat
                                     Precision, LLC to Its Motion to Terminate
                                     Exclusivity and Motion of Repeat Precision,
                                     LLC for Entry of Order to Show Cause
                                     [Docket No. 349]
          Debtors Exhibit 29

                                     Declaration of Mark Andrews [Docket No.
                                     297-3]
          Debtors Exhibit 30

                                     Declaration of Travis Vandell [Docket No.
                                     297-2]
          Debtors Exhibit 31         Debtors’ Objection to Repeat Precision, LLC’s
                                     Emergency Verified Motion to Continue
                                     Hearing on Motion to Reject License [Docket
                                     No. 281]
          Debtors Exhibit 32
                                     Debtors’ Response to Supplement of Repeat
                                     Precision LLC to Its Motion to Terminate
                                     Exclusivity [Docket No. 297]


                                     Any document which         any other party
                                     introduces; and



                                     Any exhibit necessary to rebut the evidence or
                                     testimony of another party.




                   The Debtors ask that the Court take judicial notice of the pleadings and transcripts filed

        (including any and all schedules, amendments, exhibits, and other attachments thereto) in the

        proceedings before this Court. The Debtors reserve the right to use additional demonstrative

        exhibits as they deem appropriate in connection with the Hearing. The Debtors reserve the right to

        amend and/or supplement this Witness and Exhibit List at any time prior to the hearing.


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                   Dated: July 27, 2020

                                                         Respectfully submitted,

                                                         FOLEY & LARDNER LLP

                                                             /s/ Marcus A. Helt
                                                             Marcus A. Helt (TX 24052187)
                                                             Paul V. Storm (TX 19325350)
                                                             C. Ashley Ellis (TX 00794824)
                                                             Emily F. Shanks (TX 24110350)
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                                                             Facsimile: 214.999.4667

                                                             PROPOSED COUNSEL FOR THE
                                                             DEBTORS, DIAMONDBACK
                                                             INDUSTRIES, INC., et al.




                                          CERTIFICATE OF SERVICE

              I certify that, on July 27, 2020, a true and correct copy of the foregoing motion was served
        via CM/ECF to all parties authorized to receive electronic notice in this case.

                                                     /s/ Marcus A. Helt
                                                     Marcus A. Helt




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